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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

  STUDENTS FOR FAIR ADMISSIONS,
  INC.,

                          Plaintiff,

                        v.                                     Case No. 1:20-cv-763-RP


  UNIVERSITY OF TEXAS AT AUSTIN, et
  al.,

                          Defendants.


                             PLAINTIFF’S NOTICE OF APPEAL

       Plaintiff Students for Fair Admissions, Inc. now appeals to the U.S. Court of Appeals for the

Fifth Circuit this Court’s Order and Final Judgment entered on July 26, 2021, granting in part

Defendants’ motion for summary judgment and dismissing Plaintiff’s claims with prejudice. See Dkt.

Nos. 56-57.
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                                         Respectfully submitted,

                                         /s/ Cameron T. Norris

                                         William S. Consovoy (pro hac vice)
                                         Thomas R. McCarthy (pro hac vice)
                                         J. Michael Connolly
                                         Cameron T. Norris
                                         Steven C. Begakis (pro hac vice)
                                         CONSOVOY MCCARTHY PLLC
                                         1600 Wilson Blvd., Suite 700
                                         Arlington, VA 22209
                                         (703) 243-9423
                                         will@consovoymccarthy.com
                                         tom@consovoymccarthy.com
                                         mike@consovoymccarthy.com
                                         cam@consovoymccarthy.com
                                         steven@consovoymccarthy.com

Dated: August 5, 2021                    Counsel for Plaintiff Students for Fair Admissions, Inc.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on all counsel

of record via the Court’s electronic filing and service on August 5, 2021.


                                                               /s/ Cameron T. Norris

                                                               Cameron T. Norris




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